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                                                                       FILED IN CLERKS    OFFICE
                UNITED STATES DISTRICT COURT                                IJ.S.D.C. ~NIanta
               NORTHERN DISTRICT OF GEORGIA
                      ATLANTA DIVISION                                 L..     FEB1I2O2I
SANDRA B. WILLIAMS               )                                            AMES4
                                                                                       EN Clerk
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                                              )                         B.
               PLAINTIFF                      )      CIVIL ACTION
                                              )      File No.: I:20-CV-1297-TCB
V.                                            )      Rockdale County Magistrate Ct
                                              )      2020-MAG-0620
SELECT PORTFOLIO SERVICING,      )                   OBJECTIONS TO
U.S. BANK NATIONAL ASSOCIATION, )                    MAGISTRATE’S FINAL
AS TRUSTEE, ON BEHALF THE                            ORDER
HOLDERS OF THE HOME EQUITY       )
ASSET TRUST 2006-5 HOME EQUITY )
PASS THROUGH CERTIFICATES,       )
SERIES 2006-5; RUBIN LUBLrN, LLC )
& BRET CHANESS, ESQ.             )
                                              )
               DEFENDANTS.                    )
                PLAINTIFF’S OBJECTIONS TO MAGISTRATE’S FINAL
                             REPORT AND ORDER

     COMES NOW Sandra B. Williams, Plaintiff in the above captioned action,

appearing Pro Se, and timely files her OBJECTIONS TO MAGISTRATE’S

FINAL REPORT AND ORDER pursuant to 28 U.S.C. §636(b)(1)(A) as “A

judge of the court may reconsider any pretrial matter under this subparagraph (A)

where it has been shown that the magistrate judge’s order is clearly erroneous or

contrary to law.” In support of her objections Plaintiff states as follows:

     I.     ARGUMENT AND CITATION OF AUTHORITY
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The court found that “in Georgia, promises relating to interests in land are covered

by the statute of frauds and therefore must be in writing to be enforceable.

O.C.G.A.   §   13-5-30 (a)(4) citing E. Piedmont 120 Associates L.P. v Sheppard

A92A1975; 434 S.E. 2d 101, 102. This case deals with                “. .   .an alleged oral

agreement to form a joint venture to develop Mrs. Sheppard?s land into a shopping

center.” Plaintiff respectfully shows the court that this set of facts does not relate to

the issue at bar. There is already an enforceable contract between Plaintiff and

Defendant. There is an issue as to whether the parties agree to modif~’ the loan and

in return forego Defendant’s contractual right to foreclose under the terms of the

said existing agreement. Defendant made a promise, in writing, not to foreclose,

and Plaintiff relied on that promise to her detriment.


   A. Equity Created by Estoppel


   There are differences between a contract and an equity created by estoppel.

Plaintiff submits an equity created by estoppel may be imposed irrespective of any

agreement by the party bound. As this court has pointed out, a contractual

obligation must be supported by consideration; but an equity created by estoppel

need not be supported by what is, strictly speaking, consideration. The remedy

offered by promissory estoppel has been limited to preventing the enforcement of

existing legal rights. This is exactly the remedy Plaintiff seeks; preventing
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Defendant from enforcing its legal right to foreclose when it promised not to do so,

hence, voiding the foreclosure. GA Code        §       24-14-29 (2014) In order for an

(promissory) equitable estoppel to arise, there shall generally be some intended

deception in the conduct or declarations of the party to be estopped, or such gross

negligence as to amount to constructive fraud, by which another has been misled to

his or her injury.


       In Middlebooks v. Lonas, 246 Ga. 720 (2) (272 SE2d 687) (1980), the court

held that a promise made without a present intent to perform is a misrepresentation

of material fact and is sufficient to support a claim of fraud. Middlebrooks, supra at

721. See also Restatement of Torts Second,      §      530 (1), p. 64 (1977). As to the

court’s argument regarding the statute of frauds, the court held in Bennett v.

Bennett, 212 Ga. 128, 129 (91 SE2d 29) (1956). “The statute of frauds is

inoperative as a protection and support of fraud, and equity will declare a

constructive trust in respect ofproperty acquired by fraudulent oral promises...”

(Emphasis mine) The Supreme Court held in Watkins v Watkins, 344 S.E. 2d 1986,

“On the question of fraud, the key issue is whether John made the promise without

a present intent to perform.” A person” by his words or conduct, so behaves as to

lead another to believe that he will not insist on his strict legal rights knowing or
                                                                           -




intending that the other will act on that belief and he does so act, that again will
                                                   -




raise an equity in favor of the other; and it is for a court of equity to say in what
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way the equity may be satisfied.” The High Court held that to avoid detriment

through unconscionable behavior, Watkins was estopped from denying the oral

promise, the contract not to exercise their otherwise legal right to act.”


The 5 elements of Promissory Estoppel are:


   1. Some form of legal relationship either exists or is anticipated between the

      parties. A contractual relationship is the most common type of “legal”

      relationship. Parties to pre-contractual negotiations also fall within this

      principle. Here the parties are already in a contractual relationship for which

      no additional consideration is required for equitable promissory estoppel.

   2. A representation or promise by one party. Traditionally, estoppel could only

      be used with respect to a representation about an existing fact. The High

      Court decision in Waltons Stores (Interstate) Ltd v Maher (1988) 164 CLR

      387, however, extended the doctrine to representations about future

      conduct. (Emphasis mine) This type of “promissory estoppel” arises where

      the promise is given in circumstances that lead the other party to assume the

      promise will be performed. As a consumer, a customer of a national bank,

      Plaintiff had every right to rely on the promise NOT to foreclose by a

      representative of Defendant in anticipation of a forthcoming loan

      modification. Defendant’s agent admitted, in writing, that they agreed to
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      stop the foreclosure which had been scheduled to take place on August 6,

      2019. Defendant’s agents’ representations constitute promissory estoppel

      and negligent representation. It flies in the face of justice that this court

      would sanction Defendant’s behavior.

   3. Reliance by the other party on the promise or representation. The party

      relying on the promise must suffer a detriment. Plaintiff lost title to her

      home via foreclosure.

   4. Detriment. The party relying on the promise must have suffered some sort of

      detriment. In other words, the party must be in a worse position for having

      relied on the promise. Plaintiff is clearly in a worse position.

   5. Unconscionability. There is no general restriction, which prohibits a person

      from breaking his or her promise. Accordingly, before an action for

      estoppel will succeed, it must be shown that, in the circumstances, it would

      be unfair or inequitable to allow them to do so. Clearly Defendant has no

      honor.


Clearly Defendant has admitted the promise was made. Whether Plaintiff spoke

with “Selena” or anyone else for that matter is of no consequence. Plaintiff has met

her burden of proving Defendant made a promise and did not keep it. They are

culpable for their behavior. If this court’s recommendation is allowed to be
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finalized then it is sending a signal to every bank that they can blatantly lie without

repercussion.


   This is an action to set aside/rescindJvoid a wrongfiil foreclosure which took

place on August 6, 2019. Defendant Select Portfolio Servicing, Inc. admittedly

wrongftilly foreclosed after admittedly, in writing, promising Plaintiff, who

detrimentally relied on Defendants’ admitted promise that it would not proceed

with the foreclosure. There were no contingencies associated with this promise.

Defendant communicated in writing and orally that would not foreclose. They did.

This clearly flies in the face of the laws that were designed to protect consumers if

this court does not vacate this foreclosure.

   B. Plaintiffs Right to File Bankruptcy to Stop Foreclosure

      One of the primary purposes of the Bankruptcy Act is to ‘relieve the honest

debtor from the weight of oppressive indebtedness, and permit him to start a fresh

free from the obligations and responsibilities consequent upon business or personal

misfortunes. Plaintiff had a right, by law, if she had known Defendant’s

representatives were blatantly lying, to file a Chapter 7 or Chapter 13 Bankruptcy,

and save her home.

      The court incorrectly stated that “Joseph” was aware of any threat of

bankruptcy and made those statements to induce Plaintiff to forebear from filing.”

(Magistrate Report Pg. 8) Plaintiff made no such threat or allegation. Plaintiff
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simply stated a fact; she had the legal right to file Bankruptcy. Plaintiff’s statement

to the contrary was not speculative or hypothetical; she had a right to file

Bankruptcy to stop the foreclosure had Defendant truthfully communicated its

intent to do so. It business dealings, Plaintiff is entitled to fair play. Plaintiff

respectfully submits that if Defendant had been truthful and stated they were going

to proceed with the foreclosure, then she would have exercised her right to file

Bankruptcy as stated in paragraph one of this subheading.

                                    CONCLUSION

        Plaintiff submits there is clearly one issue to be decided; whether Defendant

can make an oral promise not to foreclose, confirm that promise in writing, and

then proceed to foreclose on a homeowner without any legal repercussion? This

scenario flies in the face of reason, justice, equity, and fair play.

        The magistrate’s report is creating a slippery slope wherein it questions the

veracity       of Plaintiff’s   communications    with    Defendant’s   representatives

(Magistrate’s Report Pgs. 2 3, 4) who admitted in writing they spoke with her and

promised not to foreclose but foreclosed anyway. The court classified this lie as

“erroneous information (Magistrate’s Report Pgs. 2) Plaintiff submits, a lie is a lie

is a lie.

        Further, the court justified a banking Defendant’s promise, which they

admitted in writing, that they spoke with her, and promised not to foreclose, but
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subsequently foreclosed. All Defendant had to do was to simply and truthfully

communicate their intention to foreclose. Plaintiff relied, to her detriment, on

Defendant’s blatant lie, and it would be unfair or inequitable to allow them to

retain title to a home they took by lying about their intentions not to do so.

      WHEREFORE, Plaintiff prays for judgment against Defendants as follows:

      a. Set aside, void, rescind the foreclosure sale; and

      b. Restore Plaintiff to status quo without penalty, arrearages, or interest; and

      c. Allow the parties to pursue a loan modification; and

      d. For such other and further relief as this court may deem proper.

Respectfully submitted this llt~~ day of February, 2021




Sandra B. Will ams
2736 Lakeside Drive Southwest
Conyers GA 30094
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                                                                       u.S.D.C.-I
                UNITED STATES DISTRICT COURT
               NORTHERN DISTRICT OF GEORGIA                              FEB 112
                      ATLANTA DIVISION                                 ~—      ~nFr
SANDRA B. WILLIAMS               )
                                                 )
            PLAINTIFF                            )     CIVIL ACTII
                                                 )     File No.: 1 :20-CV-1297-TCB
V.                                               )     Rockdale County Magistrate Ct
                                                 )     2020-MAG-0620
SELECT PORTFOLIO SERVICING,                      )     PLAINTIFF’S OBJECTIONS
U.S. BANK NATIONAL ASSOCIATION,                  )     TO FINAL REPORT AND
AS TRUSTEE, ON BEHALF THE                        )     RECOMMENDATION
HOLDERS OF THE HOME EQUITY                       )
ASSET TRUST 2006-5 HOME EQUITY                   )
PASS THROUGH CERTIFICATES,                       )
SERIES 2006-5; RUBIN LUBLIN, LLC                       )
& BRET CHANESS,      ESQ.                              )
                                                 )
            DEFENDANTS.                          )
                     CERTIFICATE OF COMPLIANCE

      Pursuant to Local Rule 7.1 D, I hereby certifS’ that the foregoing motion has

been prepared in compliance with Local Rule 5.1 B and C using 14-point Times

New Roman font.

Respectfully submitted this   11th   day of February, 2021




Sandra B. Williams
2736 Lakeside Drive Southwest
Conyers GA 30094
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                                                                      FILED IN CUT~KS crrLCE
                UNITED STATES DISTRICT COURT                               U.S.D.C AU ‘a
               NORTHERN DISTRICT OF GEORGIA                                     ,~   ii
                     ATLANTA DIVISION                                      FEn
SANDRA B. WILLIAMS               )                                       JAM~   ~5r’l

                                            )                                             ru~vCb01*
             PLAINTIFF,                     )     CIVIL ACTION
                                            )     FileNo.: l:20-CV-12’ -TCB
v.                                          )     Rockdale County Magistrate Ct
                                            )     2020-MAG-0620
SELECT PORTFOLIO SERVICING,                 )     AMENDED COMPLAINT
U.S. BANK NATIONAL ASSOCIATION,)
AS TRUSTEE, ON BEHALF THE        )
HOLDERS OF THE HOME EQUITY       )
ASSET TRUST 2006-5 HOME EQUITY )
PASS THROUGH CERTIFICATES,       )
SERIES 2006-5; RUBEN LUBLIN, LLC                  )
& BRET CHANESS,      ESQ.                         )
                                            )
             DEFENDANTS.                    )
                        CERTIFICATE OF SERVICE

THIS    IS   TO   CERTIFY that    the   Defendants    U.S.    BANK NATIONAL

ASSOCIATION, AS TRUSTEE, ON BEHALF THE HOLDERS OF THE HOME

EQUITY       ASSET   TRUST     2006-5    HOME     EQUITY       PASS     THROUGH

CERTIFICATES, SERIES 2006-5, C/O SELECT PORTFOLIO SERVICING,

LLC., RUBIN LUBLIN AND BRET CHANESS were served electronically as the

PLAINTIFF’S OBJECTIONS TO THE MAGISTRATES FINAL REPORT

AND RECOMMENDATION was deposited with the Clerk of the Court and

Defendants were served via electronic service on even date:

         a. U.S. BANK NATIONAL ASSOCIATION, AS TRUSTEE, ON
            BEHALF THE HOLDERS OF THE HOME EQUITY ASSET
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              TRUST      2006-5     HOME EQUITY PASS THROUGH
              CERTIFICATES, SERIES 2006-5 do SELECT PORTFOLIO
              SERVICES
              3217 S Decker Lake Drive
              Salt Lake City, Utah 84119

           b. Rubin Lublin, LLC.
              3145 Avalon Ridge Place, Suite 100
              Peachtree Corners, GA, 30071

           c. Bret Chaness, Esq. do Rubin Lublin
              3145 Avalon Ridge Place, Suite 100, Peachtree Corners, GA, 30071

Dated:        February 11th, 2021




Sandra B. Williams
2736 Lakeside Drive Southwest
Conyers GA 30094
